       Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 1 of 7



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 JANE DOE 4,                                *
                                            *
               Plaintiffs,                  *         Civil Action No.
 v.                                         *         1:19-CV-03845-WMR
                                            *
 ESSEX, LLC, et al.,                        *
                                            *
               Defendants.                  *


      NOTICE OF INTENT TO SEEK APPORTIONMENT OF FAULT
       AGAINST NON-PARTIES PURSUANT TO O.C.G.A § 51-12-33

       COME NOW, Defendants Westmont Hospitality Group, Inc., SUB SU Hotel

GP, LLC, WHG SU Atlanta, LP, and WHG SU Atlanta, LLC (“Defendants”), by and

through their undersigned counsel, and file this Notice of Intent to Seek

Apportionment of Fault Against Non-Parties pursuant to O.C.G.A. § 51-12-33.

Defendants hereby notify the Court and all parties to this action, more than 120 days

prior to trial of this matter, that the jury shall consider whether the following persons

or entities are wholly or partially at fault for the allegations and incidents that form the

basis of Plaintiff Jane Doe 4’s Complaint and Plaintiff Jane Doe 4’s claimed damages.

       Plaintiff Jane Doe 4 alleges that she was trafficked by several persons from

2010 to 2013 at several hotels in Atlanta, Georgia and the surrounding areas. Plaintiff

Jane Doe 4 alleges that these individuals held her against her will, beat her, starved

her, drugged her, and forced her to engage in commercial sex with hundreds to
           Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 2 of 7



thousands of buyers. Plaintiff Jane Doe 4 , through discovery responses and

deposition, has identified the following individuals as people as these alleged

traffickers to which fault should be apportioned:

         •         “CB” or “Gutta” (real name and last known address are believed to

                   be Jayson Johnson, 9001 GA Highway 21, Apartment 314, Port

                   Wentworth, GA 31407);

         •         “Black” (real name and address unknown); and

         •         “Diablo” (real name believed to be Martez Marquel Fuque,

                   currently incarcerated at Coffee Correctional Facility, 1153 N Liberty

                   St., Nicholls, GA 31554).

         Plaintiff Jane Doe 4 further alleges that she suffered damages due to the

purchasers of sex and sexual acts in which she was allegedly forced to engage in.

These buyers are hereby designated as “John Doe Johns.” Their current

whereabouts/address are unknown.

         Plaintiff Jane Doe 4 alleges in discovery that her traffickers received help and

assistance from a number of individuals. These accomplices are hereby designated as

“John Doe Accomplices” and “Jane Doe Accomplices.” Their current

whereabouts/address are unknown.

         Further, Plaintiff Jane Doe 4 alleges that she was trafficked at numerous hotels,

excluding those that were owned and/or operated by the named Defendants of this



4882-8541-2912.1                               2
           Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 3 of 7



lawsuit. The following non-parties, owners and operators of additional hotels where

Plaintiff Jane Doe 4 was allegedly subjected to sex trafficking may be liable for all or

some of Plaintiff Jane Doe 4’s damages:

         •          Hilton Worldwide Holdings, Inc. (as owner of Hampton Inn,
                   address unknown)
                   c/o Corporation Service Company
                   251 Little Falls Drive
                   Wilmington, New Castle, DE 19808;

         •         Hilton Franchise Holdings, LLC (as owner of Hampton Inn, address
                   unknown)
                   c/o Corporation Service Company
                   251 Little Falls Drive
                   Wilmington, DE 19808; and

         •         Hilton Domestic Operating Company, Inc. (as owner of Hampton
                   Inn, address unknown)
                   c/o Corporation Service Company
                   40 Technology Parkway South, Suite 300
                   Norcross, GA 30092.

         Plaintiff Jane Doe 4 further alleges that she was subjected to online advertising

for the sale of illegal commercial sex as part of her alleged trafficking. These online

websites negligently, recklessly, and with willful and wanton disregard permitted the

sale of illegal commercial sex, contributing to Plaintiff Jane Doe 4’s alleged damages:

         •         Backpage.com, LLC
                   2501 Oak Lawn Ave
                   Dallas, TX 75219




4882-8541-2912.1                             3
           Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 4 of 7



         Defendants reserve the right to add to this list as discovery is ongoing.

Defendants further reserve the right to apportion fault to the hotels, traffickers, and

other entities that Plaintiff was unable to specifically recall throughout discovery.

         Defendants identify and designate the above-listed non-parties as non-parties

who are wholly or partially at fault for the incidents that form the basis of Plaintiff

Jane Doe 4’s lawsuit and whose intentional, negligent, and reckless actions were the

proximate cause of Plaintiff Jane Doe 4’s alleged damages. Defendants reserve the

right to contend at trial that Plaintiff Jane Doe 4’s claimed injuries or damages in this

case resulted from the negligence, intentional conduct, or fault of the foregoing non-

parties. At trial, the jury shall be authorized to apportion fault to these non-parties.

         Respectfully submitted this 26th day of August, 2022.

                                          LEWIS BRISBOIS BISGAARD & SMITH LLP

                                          /s/ Emma J. Fennelly
                                          CHARLES K. REED
                                          Georgia Bar No. 597597
 Bank of America Plaza                    ADI ALLUSHI
 600 Peachtree Street, NE                 Georgia Bar No. 852810
 Suite 4700                               EMMA J. FENNELLY
 Atlanta, GA 30308                        Georgia Bar No. 610587
 (404) 348-8585
 (404) 467-8845 Facsimile                 Attorneys for Defendants
 Chuck.Reed@lewisbrisbois.com             Westmont Hospitality Group, Inc.
 Adi.Allushi@lewisbrisbois.com            SUB-SU Hotel GP, LLC, WHG SU
 Emma.Fennelly@lewisbrisbois.com          Atlanta, LP and WHG SU Atlanta, LLC




4882-8541-2912.1                           4
       Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 5 of 7




               RULE 7.1D CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D of the United States District Court of the Northern

District of Georgia, the undersigned certifies that the foregoing submission to the

Court was computer-processed, double-spaced between lines, and used Times New

Roman font of 14 point size.


Dated: August 26, 2022.

                                                   /s/ Emma J. Fennelly
                                                   EMMA J. FENNELLY
       Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 6 of 7




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day of August 26, 2022 filed the within and

foregoing NOTICE OF INTENT TO SEEK APPORTIONMENT OF FAULT

AGAINST NON-PARTY PURSUANT TO O.C.G.A 51-12-33 via CM/ECF, which

automatically sends an electronic copy to all counsel of records as follows:


     John E. Floyd                           Jonathan S. Tonge
     Manoj S. Varghese                       Patrick J. McDonough
     Tiana S. Mykkeltvedt                    Trinity Hundredmark
     Amanda Kay Seals                        ANDERSEN, TATE & CARR, P.C.
     Michael R. Baumrind                     One Sugarloaf Centre
     BONDURANT, MIXSON                       1960 Satellite Blvd., Suite 4000
       & ELMORE, LLP                         Duluth, GA 30097
     1201 West Peachtree Street NW           jtonge@atclawfirm.com
     Suite 3900                              pmcdonough@atclawfirm.com
     Atlanta, GA 30309                       thundred@atclawfirm.com
     floyd@bmelaw.com                        Attorneys for Plaintiffs
     varghese@bmelaw.com
     mykkeltvedt@bmelaw.com
     seals@bmelaw.com
     baumrind@bmelaw.com
     Attorneys for Plaintiffs

     Joseph Robb Cruser                      Anthony L. Cochran
     Kristin L. Yoder                        SMITH, GAMBRELL & RUSSELL, LLP
     Glenn C. Tornillo                       1105 West Peachtree St. NW
     CRUSER MITCHELL LAW FIRM                Suite 1000
     Merician II, Suite 2000                 Atlanta, GA 30309
     275 Scientific Drive                    acochran@sgrlaw.com
     Peachtree Corners, GA 30092             Attorneys for Defendant Essex Hotel
     rcruser@cmlawfirm.com                   Management, LLC (misnamed as
     kyoder@cmlawfirm.com                    Essex, LLC)
     gtornillo@cmlawfirm.com
     Attorneys for Defendants
     Kuzzins Buford, Inc.
     CC&S Development, LLC
  Case 1:19-cv-03845-WMR Document 330 Filed 08/26/22 Page 7 of 7




Sabrina L. Atkins
SWIFT, CURRIE, MCGHEE
  & HIERS, LLP
The Peachtree, Suite 300
1355 Peachtree Street, NE
Atlanta, GA 30309-3231
Sabrina.atkins@swiftcurrie.com
Attorneys for Defendant
HSI Chamblee, LLC

                                     LEWIS BRISBOIS BISGAARD & SMITH LLP

                                     /s/ Emma J. Fennelly
                                     CHARLES K. REED
                                     Georgia Bar No. 597597
Bank of America Plaza                ADI ALLUSHI
600 Peachtree Street, NE             Georgia Bar No. 852810
Suite 4700                           EMMA J. FENNELLY
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(404) 348-8585
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Chuck.Reed@lewisbrisbois.com         Westmont Hospitality Group, Inc.
Adi.Allushi@lewisbrisbois.com        SUB-SU Hotel GP, LLC, WHG SU
Emma.Fennelly@lewisbrisbois.com      Atlanta, LP and WHG SU Atlanta, LLC




                                 2
